Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 1 of 65




                                                                125
             Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 2 of 65




The application is based on these facts:

       181 continued on the attached sheet.
       D Delayed notice of __ days (give exact ending date if more than 30 days:                       ) is
           requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                 Applicant's signature

                                                  KATHLEEN A. GARVER
                                                  SPECIAL AGENT
                                                  FEDERAL BUREAU OF INVESTIGATION
                                                                Printed name and title


Sworn to before me and signed telephonically.
                  8
Date: September ___ �, 2�0=2 0�
                                                                Judge's signature

                                                  HONORABLE H. KENNETH SCHROEDER, JR.
City and state: Buffalo. New York                 UNITED STATES MAGISTRATE•JUDGE
                                                              Printed name and Title
            Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 3 of 65




                              AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR SEARCH WARRANTS


STATE OF NEW YORK              )
COUNTY OF ERIE                 )       SS:
CITY OF BUFFALO )


       I, Kathleen A. Garver, being duly sworn, deposes and says:

                       INTRODUCTION AND AGENT BACKGROUND

       1.       I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

so employed since 2015. The FBI is an agency within the United States Department of Justice,

which is a department within the executive branch of the United States Government. I am currently

assigned to the Buffalo Field Office and to the White-Collar Crime Squad within that office. My

duties include the investigation of such offenses as bank fraud, investment fraud, money

laundering, corporate fraud, mail fraud, wire fraud, public corruption, bankruptcy fraud, and other

white-collar crimes.

       2.       I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7); that is, an officer of the United States

who is empowered by law to conduct investigations of, and to make arrests for, offenses

enumerated in Title 18, United States Code, Section 2516.

       3.       I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for warrants to search the following:

             a. the premises known as 19 Crabapple Lane, Lancaster, New York, 14086, more fully

                described in Attachment A-1; and

             b. the premises known as 310 Adams Street, Buffalo, New York, 14212, more fully

                described in Attachment A-2,

                                                  1
            Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 4 of 65




             c. the person of LARRY D. JORDAN II (“LARRY JORDAN”), more fully described

                in Attachment A-3, and

             d. the person of SUTUKH EL, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo

                Hurtington (“SUTUKH EL”), more fully described in Attachment A-4

       As discussed below, 19 Crabapple Lane and 310 Adams Street (hereinafter, “the Subject

Premises”) are the residences of, respectively, LARRY JORDAN and SUTUKH EL.

       4.       I also make this affidavit in support of an application for information associated

with two email accounts that are stored at premises owned, maintained, controlled, or operated by

Zoho Corporation, an internet portal and electronic mail company headquartered in Pleasanton,

California. The accounts to be searched are:

             a. Larry.Jordan@5stems.com

             b. Accounting@5stems.com

(hereinafter the “the Subject Accounts”) and are identified and described in the following

paragraphs and in Attachment A-5. This affidavit is made in support of an application for a search

warrant, pursuant to 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), requiring Zoho

Corporation to disclose to the government records and other information (including the content of

emails) in its possession pertaining to the subscriber(s) or customer(s) associated with the Subject

Accounts. This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

       5.       This application seeks search warrants to search the places, persons, and accounts

identified in Attachments A-1 – A-5, and to thereafter search for and seize the items more



                                                   2
            Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 5 of 65




particularly described in Attachments B-1 and B-2, attached hereto and incorporated herein by

reference, including the search of all computers, cellular telephones and/or any other electronic

devices located, and the seizure of all items in Attachments B-1 and B-2 that constitute evidence,

contraband, fruits, and instrumentalities of violations 18 U.S.C. § 1343 (Wire Fraud), 18 U.S.C. §

1344 (Bank Fraud), 18 U.S.C. § 1349 (Conspiracy to Commit Bank Wire Fraud and Bank Fraud),

18 U.S.C. § 1014 (False Statements to a Financial Institution), and 18 U.S.C. § 1957 (Engaging in

a Monetary Transaction with Criminally Derived Property) (the “Subject Offenses”).

       6.       As set forth below there is probable cause to believe that evidence, fruits, and

instrumentalities of violations of the Subject Offenses are located within or on the places, persons,

and accounts identified in Attachments A-1 – A-5.

       7.       I am familiar with the facts contained in this affidavit based upon my personal

involvement in this investigation and information provided by other law enforcement agents.

Because this affidavit is submitted for the limited purpose of obtaining search warrants, I have not

included each and every fact known to me concerning this investigation. I have set forth facts that

I believe are necessary to establish probable cause to search the above referenced facilities.

                                      PROBABLE CAUSE

               OVERVIEW OF THE PAYCHECK PROTECTION PROGRAM

       8.       The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act is a federal

law enacted in or around March 2020 and designed to provide emergency financial assistance to

the millions of Americans who are suffering the economic effects caused by the COVID-19

pandemic. One source of relief provided by the CARES Act was the authorization of up to $349

billion in forgivable loans to small businesses for job retention and certain other expenses, through




                                                 3
            Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 6 of 65




a program referred to as the PPP. In or around April 2020, Congress authorized over $300 billion

in additional PPP funding.

       9.       In order to obtain a PPP loan, a qualifying business must submit a PPP loan

application, which is signed by an authorized representative of the business. The PPP loan

application requires the business (through its authorized representative) to acknowledge the

program rules and make certain affirmative certifications in order to be eligible to obtain the PPP

loan. In the PPP loan application, the small business (through its authorized representative) must

state, among other things, its: (a) average monthly payroll expenses; and (b) number of employees.

These figures are used to calculate the amount of money the small business is eligible to receive

under the PPP. In addition, businesses applying for a PPP loan must provide documentation in

support of their payroll expenses.

       10.      A PPP loan application must be processed by a participating lender. If a PPP loan

application is approved, the participating lender funds the PPP loan using its own monies, which

are 100% guaranteed by the SBA. Data from the application, including information about the

borrower, the total amount of the loan, and the listed number of employees, is transmitted by the

lender to the SBA in the course of processing the loan.

       11.      PPP loan proceeds must be used by the business on certain permissible expenses—

payroll costs, interest on mortgages, rent, and utilities. The PPP allows the interest and principal

on the PPP loan to be entirely forgiven if the business spends the loan proceeds on these expense

items within a designated period of time after receiving the proceeds and uses a certain amount of

the PPP loan proceeds on payroll expenses.




                                                 4
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 7 of 65




    OVERVIEW OF THE SCHEME AND IDENTIFICATION OF RELEVANT PARTIES

                                    Overview of the Scheme

       12.     The scheme involves LARRY JORDAN’s and SUTUKH EL’s use of email,

lenders’ online PPP loan application processes, and financial institution funds-wiring processes,

in order to fraudulently obtain PPP loan funds. Specifically, LARRY JORDAN and SUTUKH EL

conspired to and did submit at least eight materially misleading PPP loan applications and

supporting documentation to SBA approved lenders. Reliance on this false information caused at

least one financial institution to send, through interstate wires, significant funds to LARRY

JORDAN and SUTUKH EL.

                     Background on LARRY JORDAN and SUTUKH EL

       13.     LARRY JORDAN is a resident of Lancaster, New York. Property records and

surveillance conducted by law enforcement agents place LARRY JORDAN at 19 Crabapple Lane,

Lancaster, New York (the “Crabapple Address”). According to records obtained from Tennessee’s

Department of Labor and Workforce Development (“TDL”), LARRY JORDAN’s last reported

wages from 5 Stems Inc 1 were in the second quarter of 2019 and he has received unemployment

benefits from on or about October 25, 2019, until at least on or about May 6, 2020.

       14.     SUTUKH EL is a resident of Buffalo, New York. Property records and surveillance

conducted by law enforcement place SUTUKH EL at 310 Adams Street, Buffalo, New York (the

“Adams Street Address”). 2 SUTUKH EL uses the aliases “Hugo Hurt,” and “Hugo Hurtington.”



1
  In its filings with Wyoming’s Secretary of State, 5 Stems Inc does not include a period after the
Inc.
2
  With some PPP loan applications, a copy of SUTUKH EL’s North Carolina driver’s license with
the address 9815 Sam Furr Road, Huntersville, North Carolina (the “North Carolina Address”)
was provided.

                                                5
          Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 8 of 65




According to records obtained from TDL, SUTUKH EL’s last reported wages from 5 Stems Inc

were in the second quarter of 2019 and he has received unemployment benefits from on or about

November 13, 2019, until on or about April 22, 2020.

        15.     LARRY JORDAN and SUTUKH EL are brothers.

                                        Relevant Entities

        16.     5 Stems L.L.C. is a limited liability company that was incorporated in Indiana on

or about June 18, 2013. According to records obtained from Indiana’s Secretary of State, LARRY

JORDAN is the registered agent. The address for the company’s principal office and registered

agent is 9780 Crosspoint Boulevard, Fisher, Indiana (the “Indiana Address”). 3

        17.     5 Stems Inc is a cell tower installation and network maintenance corporation that

was incorporated in Wyoming on or about February 21, 2019. According to records obtained from

Wyoming’s Secretary of State, LARRY JORDAN is the registered agent and president/director.

In certain loan applications and bank account opening records, SUTUKH EL is listed as the chief

financial officer.

        18.     Initially, 5 Stems Inc’s principal office and mailing address was 5406 Broadway

Street, Suite 62, Lancaster, New York (the “Broadway Address”). On or about April 29, 2019,

LARRY JORDAN submitted an update form to change the principal and mailing address to 1331

Union Avenue, Suite 1000, Memphis, Tennessee (the “Tennessee Address”). The current address




3
  According to publicly available information, the Indiana Address appears to be the address for
the hotel Staybridge Suites Indianapolis-Fishers.


                                                6
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 9 of 65




for the corporation’s registered agent is 5109 Frontier Mall Drive, Cheyenne, Wyoming (the

“Wyoming Address”). 4

       19.     5 Stems of Kentucky, L.L.C. is a corporation that was incorporated in Kentucky on

or about March 14, 2014. According to records obtained from Kentucky’s Secretary of State,

LARRY JORDAN is the registered agent. The corporation dissolved on or about September 12,

2015 and was reinstated on or about May 12, 2020. The application for reinstatement was signed

by LARRY JORDAN on or about April 24, 2020. 5 The corporation’s principal address is 11711

Gateworth Way, Louisville, Kentucky (the “Louisville Address”). 6

       20.     FLE LLC is a music and entertainment limited liability company that was

incorporated in New York on or about April 3, 2014. According to records obtained from New

York’s Department of State, SUTUKH EL is the registered agent. The company’s address is 1200

William Street, Suite 622, Buffalo, New York (the “William Street Address”). 7

       21.     HHDonDeck is a corporation that was incorporated in Wyoming on or about

December 2, 2019. Per records obtained from Wyoming’s Secretary of State, SUTUKH EL is the

incorporator. The corporation’s principal address is the Wyoming Address, which, as stated above,




4
  According to publicly available information, the Wyoming Address appears to be the address for
the hotel Staybridge Suites Cheyenne. The Broadway Address appears to be the address for a U.S.
post office.
5
  Two days after submitting the application for reinstatement, on or about April 26, 2020, a PPP
loan application on behalf of 5 Stems Kentucky, L.L.C. was submitted to an SBA approved lender.
That loan application is discussed in more detail below.
6
  According to publicly available information, the Louisville Address appears to be the address for
the hotel Staybridge Suites Louisville-East.
7
 According to publicly available information, the William Street Address appears to be the address
of a U.S. post office.

                                                7
           Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 10 of 65




appears to be the address of the hotel Staybridge Suites Cheyenne. The corporation’s mailing

address is the William Street Address, which, as stated above, appears to be the address of a U.S.

post office. On or about April 1, 2020, HHDonDeck was administratively dissolved because it did

not have a registered agent. 8

          22.    Standard Ascension Towers Group Corp. (“Standard Ascension”) is a corporation

that was incorporated in New York on or about December 8, 2015. According to records obtained

from New York’s Department of State, the registered agent is “Sir Larry Jordan”. The address for

the corporation’s principal office and registered agent is the Broadway Address, which, as stated

above, appears to be the address for a U.S. post office.

                                       Other Relevant Entities

          23.    Bank 1 is a federally insured financial institution with headquarters in Memphis,

Tennessee. 9 Bank 1 is an approved SBA lender and received at least two PPP loan applications

on behalf of the entities identified above.

          24.    Lender 1 is a financial technology company with headquarters in Lehi, Utah. 10

Lender 1 participates in the PPP by receiving PPP loan applications and matching those PPP loan

applications with potential SBA approved lenders. Lender 1 received at least five PPP loan

applications on behalf of the entities identified above.




8
  HHDonDeck has a social media presence, which includes music videos featuring what appears
to be SUTUKH EL rapping under the alias “Hugo Hurt”.
9
    Bank 1’s servers are located in Texas, Missouri, and Tennessee.
10
     Lender 1’s servers are located in Virginia and Ohio.

                                                  8
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 11 of 65




       25.       Bank 2 is a bank holding company with headquarters in Birmingham, Alabama.11

Bank 2 is a federally insured financial institution with branches throughout the South, Midwest,

and Texas.

       26.       Bank 3 is a federally insured financial institution with branches throughout the

United States.

       27.       Brokerage Firm 1 is a brokerage firm that offers an electronic trading platform for

the trade of financial assets. Brokerage Firm 1 is headquartered in Omaha, Nebraska.

                                       PROBABLE CAUSE

       28.       As described in detail below, there is probable cause to believe that LARRY

JORDAN and SUTUKH EL conspired to and did transmit several materially fraudulent PPP loan

applications to SBA approved lenders and thereafter used the PPP loan funds to make

impermissible purchases.

                      The First 5 Stems Inc PPP Loan Application to Bank 1

       29.       According to information and records obtained from Bank 1, in or around April

2020, a PPP loan application on behalf of 5 Stems Inc seeking approximately $605,333.33 in PPP

loan funds was submitted to Bank 1.

       30.       On or about April 2, 2020, Bank 1 received a PPP loan application on behalf of 5

Stems Inc via email from the email address larry.jordan@5stems.com (“Application 1”). 12

       31.       On Application 1, LARRY JORDAN is listed as the primary contact and CEO and

100 percent owner of 5 Stems Inc.



11
  Bank 1’s servers are located in Alabama.
12
  The phone number 716-715-0211 is listed in the signature block of the email transmitting
Application 1. According to phone records and recordings of phone calls to and from that phone
number, LARRY JORDAN uses the telephone number 716-715-0211.

                                                  9
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 12 of 65




        32.    The listed business address is the Tennessee Address and the listed business phone

number is 866-602-0006.

        33.    The Crabapple Address is listed as LARRY JORDAN’s personal address and the

email address larry.jordan@5stems.com is listed as the personal email address.

        34.    Application 1 represented that 5 Stems Inc had 39 employees with an average

monthly payroll of $242,133.33. The applicant certified that the United States was not the

principal place of residence for those employees. 13

        35.    Application 1 was signed in the name of LARRY JORDAN and dated April 2,

2020.

        36.    LARRY JORDAN certified that the information provided in Application 1 as well

as the information provided in all supporting documents and forms was true and accurate in all

material aspects.

        37.    LARRY JORDAN also certified that any funds disbursed to 5 Stems Inc would “be

used to retain workers and maintain payroll or make mortgage interest payments, lease payments,

and utility payments as specified under the Paycheck Protection Program Rule.” LARRY

JORDAN further certified his understanding that “if the funds are knowingly used for unauthorized

purposes, the federal government may hold me legally liable, such as for charges of fraud.”




13
   All PPP applicants must complete the “Paycheck Protection Program Borrower Application
Form,” which requires the applicant to provide basic information about the business and its payroll.
All applicants must answer a series of questions in order to confirm that they qualify for a PPP
loan. Question Seven asks, “Is the United States the principal place of residence for all employees
of the Applicant included in the Applicant’s payroll calculation above?” To qualify for a PPP
loan, the United States must be the principal place of residence for all employees of the Applicant
included in the Applicant’s payroll calculation.
                                                10
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 13 of 65




       38.     On or about April 16, 2020, a Bank 1 employee sent an email requesting that 5

Stems Inc provide an IRS Form 940 14 for 2019 and an IRS Form 941 15 for Q1 2020 to complete

the loan file. On or about the same day, an email from the email address accounting@5stems.com

sent an email to Bank 1 with an IRS Form 940 for 2019 and an IRS Form 941 for the first quarter

2020 attached. The email was signed by “Tina Pham.” 16

       39.     The submitted IRS Form 940 purported to show 5 Stems Inc’s total payments to

employees for 2019. According to the IRS Form 940, 5 Stems Inc made $3,360,666 in payments

to employees in 2019 and did not have employees in any other state except Tennessee. The IRS

Form 940 had LARRY JORDAN’s signature and the title of CEO. The date and the phone number

of the signatory were left blank on the IRS Form 940.

       40.     The submitted IRS Form 941 purported to show 5 Stems Inc’s wages and federal

payroll tax information for the first quarter of 2020. According to the IRS Form 941, 5 Stems Inc

had 194 employees and paid $870,280.89 in wages, tips, and other compensation in that period.




14
   IRS Form 940 is an official document that an employer files with the Internal Revenue Service
(“IRS”) to report its annual Federal Unemployment Tax Act (“FUTA”) tax. Together with state
unemployment tax systems, the FUTA tax provides funds for paying unemployment
compensation. Most employers pay both federal and state unemployment tax.
15
  IRS Form 941 is an official document that an employer files with the IRS every quarter in order
to report income taxes, Social Security taxes and Medicare taxes withheld from employees’
paychecks.
16
   On or about August 19, 2020, a law enforcement agent posing as an employee with Bank 1
spoke with LARRY JORDAN. On the call, LARRY JORDAN represented that Tina Pham works
for 5 Stems Inc as an administrator and uses the email address accounting@5stems.com. A
review of the payroll register submitted with the 5 Stems Inc loan applications as well as records
from TDL was conducted and Tina Pham was not listed as an employee. Further, law enforcement
did obtain records from New York State. Those records show two individuals in the Buffalo area
named Tina Pham. Neither Tina Pham received wages from 5 Stems Inc.

                                               11
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 14 of 65




The IRS Form 940 had LARRY JORDAN’s signature and the title of CEO. The date and the

phone number of the signatory were left blank on the IRS Form 941.

       41.     As part of the investigation, information was obtained from the IRS, which stated

that 5 Stems Inc did not file an IRS Form 940 for 2019 or an IRS Form 941 for Q1 2020. 17

       42.     According to records from TDL, in the first quarter of 2019, 5 Stems Inc reported

wages for only four employees, including LARRY JORDAN and SUTUKH EL. In the second

quarter of 2019, 5 Stems Inc reported wages for only nine employees, including LARRY JORDAN

and SUTUKH EL. TDL had no records for 5 Stems Inc for the third and fourth quarters of 2019

or any quarters of 2020. 18

       43.     On or about April 17, 2020, a Bank 1 employee sent another email to the email

address accounting@5stems.com requesting payroll documentation for 2019.                 The bank

employee also asked for clarification as to why the number of employees listed on Application 1,

which was 39, was different from the number of employees listed on the IRS Form 941, which

was 194, and to confirm whether the United States was not the principal place of residence for

those employees.

       44.     That same day, in an email from the email address accounting@5stems.com, an

individual wrote the following: “that was in error . . . ALL employees are US based 39 was the




17
  According to the IRS, 5 Stems Inc did file IRS Form 941s for the first, second, and third quarters
of 2019. Records obtained from Bank 3 reveal that on or about May 26, 2020, 5 Stems Inc received
two checks in the amount of $3,983.82 and $15,684.93, respectively from the United States
Treasury. The checks appear to be refunds for taxes paid by 5 Stems Inc in the first and second
quarter of 2019. The checks were deposited into a bank account in the name of 5 Stems Inc at
Bank 3 that was opened on or about June 3, 2020. LARRY JORDAN and SUTUKH EL are
signatories on this account.
18
   TDL requires every employer in Tennessee to report its employees’ wages for purposes of
calculating unemployment taxes
                                                12
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 15 of 65




current number of employees per COVID 19. we have 194 total will send updated form”. The

email was signed by “Tina Pham.”

       45.     Application 1 was not funded.

                    The Second 5 Stems Inc PPP Loan Application to Bank 1

       46.     On or about April 17, 2020, a new PPP loan application on behalf of 5 Stems Inc

seeking approximately $605,333.33 in PPP loan funds was emailed to Bank 1 from the email

address accounting@5stems.com. The email was signed by “Tina Pham” (“Application 2”).

       47.     On Application 2, LARRY JORDAN is still listed as the primary contact, CEO,

and 100 percent owner of 5 Stems Inc.

       48.     The listed business address is the Tennessee Address and the business phone

number as 866-602-0006.

       49.     Lancaster, New York is listed as the personal address and the email address

larry.jordan@5stems.com is listed as the personal email address.

       50.     Application 2 represented that 5 Stems Inc had 194 employees with an average

monthly payroll of $242,133.33. (As stated above, Application 1 represented that 5 Stems Inc had

39 employees.) Application 2 also certified that the principal place of residence for the entity’s

employees was the United States. (As stated above, Application 1 represented that the United

States was not the principal place of business for employees of 5 Stems Inc.)

       51.     Application 2 was signed in the name of LARRY JORDAN and dated April 1,

2020. (Application 2 was submitted on or about April 17, 2020.)

       52.     LARRY JORDAN also certified that the information provided in Application 2 as

well as the information provided in all supporting documents and forms was true and accurate in

all material aspects.



                                               13
          Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 16 of 65




       53.     In support of Application 2, an email was sent to Bank 1 from the email address

accounting@5stems.com, which included seven Excel spreadsheets purporting to be 5 Stems

Inc’s payroll register for 2019.

       54.     The payroll register listed a total of 204 employees. The employees were identified

by first name only, a street address with no city, state or zip code, and a social security number. 19

All of the employees had the same start date of January 1, 2019.

       55.     The spreadsheets revealed 13 instances where a purported employee had the same

social security number as a different purported employee. For example, an employee identified as

“Virgil,” a “CM” earning $21,000, had the same social security number as an employee identified

as “David,” a “climber” earning $16,000.

       56.     In addition, although the purported IRS Form 940 for 5 Stems Inc stated all

employees worked inside Tennessee, none of the street names associated with each 5 Stems Inc

employee listed on the payroll register were located in Tennessee.

       57.     Application 2 was approved and Bank 1 funded the loan in the amount of $605,200.

       58.     On or about, April 22, 2020, the loan agreement documents for Application 2 were

signed in the name of LARRY JORDAN.

       59.     According to records obtained from Bank 1, the documents were signed using a

mobile device from the Internet Protocol (“IP”) address of 172.58.229.13, which belongs to T-

Mobile.




19
   On the submitted payroll register, a redline went through a portion of each social security
number. By clicking edit text in Adobe PDF, law enforcement was able to remove the redline and
view the entire social security number.
                                                 14
          Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 17 of 65




           Recorded Phone Calls Confirm LARRY JORDAN Submitted Application 2

       60.     On or about August 17, 2020, a member of the law enforcement team made a

recorded telephone call to phone number 716-715-0211 and spoke with LARRY JORDAN about

Application 2. The law enforcement agent pretended to be a customer service representative with

Bank 1.

       61.     On the recording, LARRY JORDAN answered the phone and identified himself as

“Dr. Jordan”. LARRY JORDAN confirmed that his email address is larry.jordan@5stems.com

and his phone number is 716-715-0211.

       62.     When asked about the PPP loan process, LARRY JORDAN stated: “[I]t’s just the

government sucks, and, you know, just the past 8 weeks and 12 weeks, they’ve been changing shit

to the point where we was so skittish about spending any freaking money.”

       63.     LARRY JORDAN continued: “[W]e’re still coming back slowly . . . We probably

won’t be fully ramped up until, like, late November. So, we’ve been pretty particular, like, what

we’re spending, how we’re spending. ‘Cause it’s just been so confusing.”

       64.     LARRY JORDAN said that his accountant “Anthony” wanted to know whether the

company could use the money for new hires and still have the loan be forgiven.

       65.     When pressed for Anthony’s contact information and last name, LARRY JORDAN

told the law enforcement agent he could not remember Anthony’s last name. 20




20
   As noted above, LARRY JORDAN referred to his accountant as “Anthony” and not “Tina
Pham” as suggested in the email correspondence sent to Bank 1 from the email address
accounting@5stems.com. In a subsequent recorded call, LARRY JORDAN was asked whether
“Tina Pham” was his accountant. LARRY JORDAN responded: “Yeah, yeah, yeah. That’s, um,
that’s, she works for us. She’s our . . . like our, um, yeah, yeah, yeah, um, she’s one of our
administrators. So, yes.” LARRY JORDAN further stated: “ . . . that's the one that I think that
she [i.e., Tina Pham] was su...yeah, submitting.” Finally, LARRY JORDAN stated: “She's... She
does all the...she does all the, um, payroll and all the other stuff that we do day to day, so.”
                                               15
           Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 18 of 65




       66.     When asked how many employees the company has, LARRY JORDAN stated:

“[W]e got two companies. We got 5 Stems Incorporated and 5 Stems L.L.C. So, we have about

74 employees. And then the other company, it has like 125 employees . . . [W]e do cell phone

towers.”

       67.     The number of employees provided by LARRY JORDAN, 74 and 125,

respectively, was inconsistent with the number of employees provided in Application 1, which was

39 employees, and in Application 2, which was 194 employees.

       68.     When asked whether 5 Stems Inc was able to pay its employees, LARRY JORDAN

said: “Yes, we paid . . . we started paying some of them.”

       69.     LARRY JORDAN continued: “[I]t’s pretty much our back office. That’s it.” When

asked how many people work in the back office, LARRY JORDAN stated: “Um, I’d say about ten

percent.”

 Bank 1 Confirms LARRY JORDAN Spoke with Bank 1 Employees about Loan Forgiveness

       70.     Law enforcement spoke with employees from Bank 1 and obtained correspondence

between LARRY JORDAN and a Bank 1 employee.

       71.     On or about August 14, 2020, a Bank 1 employee sent an email asking whether the

PPP loan funds had been spent, when the borrower might anticipate submitting a forgiveness

application, and to ask how things were going.

       72.     That same day, LARRY JORDAN responded to the email from the Bank 1

employee from the email address larry.jordan@5stems.com. In the email, LARRY JORDAN

responded, “Yes some have been spent but we can call u when?”




                                                 16
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 19 of 65




       73.       The Bank 1 employee told law enforcement that on or about August 17, 2020, the

employee spoke with LARRY JORDAN. The Bank 1 employee contacted LARRY JORDAN at

the telephone number 716-715-0211.

       74.       According to notes taken by the Bank 1 employee, LARRY JORDAN told the

employee that he had used some of the funds, but that he is looking to hire employees back and

start using the money. LARRY JORDAN also indicated that he planned to apply to have the PPP

loan forgiven.

      LARRY JORDAN Wires the PPP Loan Funds from Application 2 to SUTUKH EL

       75.       On or about April 22, 2020, LARRY JORDAN authorized the wire transfer of

approximately $605,200 in PPP loan funds from Application 2 to bank account number

0201308971 in the name of 5 Stems Inc at Bank 2 (the “5 Stems Inc Account”). 21

       76.       On or about April 22, 2020, LARRY JORDAN authorized the wire transfer of

approximately $605,200 in PPP loan funds from Application 2 to a bank account with the account

number ending in 8971 in the name of 5 Stems Inc at Bank 2 (the “5 Stems Inc Account”). 22

       77.       According to records obtained from Bank 2, SUTUKH EL is the sole signatory for

the 5 Stems Inc Account. The phone number associated with the account is 716-331-4350. 23


21
 Prior to this deposit, the balance of the 5 Stems Inc Account was approximately $21,500. After
April 22, 2020, the 5 Stems Inc Account had no other deposits.
22
 Prior to this deposit, the balance of the 5 Stems Inc Account was approximately $21,500. After
April 22, 2020, the 5 Stems Inc Account had no other deposits.
23
  Bank 2 also provided law enforcement with a number of recorded phone calls between the bank
and the telephone number 716-331-4350. In most of these recorded calls, the individual calling
the bank identified himself as SUTUKH EL. In one of the recorded calls, SUTUKH EL told the
bank employee that SUTUKH EL is the CFO of 5 Stems Inc and that his brother is the CEO. In
another call, SUTUKH EL speculated that he may have listed LARRY JORDAN on one of the
business accounts for 5 Stems Inc.

                                               17
           Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 20 of 65




          78.    Records from Bank 2 also showed when a user logged into the bank’s online system

to access the 5 Stems Inc Account.

          79.    Law enforcement examined the logins into the 5 Stems Inc Account from on or

about April 22, 2020 (the day of the PPP wire transfer). Those records show numerous login

attempts, including some from an iPhone with the IP address 174.224.136.30. Records obtained

in the investigation reveal that this IP address is owned by Verizon and associated with the

telephone number 716-331-4350 (the number used by SUTUKH EL to call Bank 2). 24

          80.    Records from Bank 2 also show separate logins into the 5 Stems Inc Account on or

about April 22, 2020 from the IP address 98.4.51.196. Records obtained in the investigation reveal

that this IP address is registered to the Crabapple Address, which is LARRY JORDAN’s residence.

          81.    Records from Bank 2 also show separate logins into the 5 Stems Inc Account on or

about April 22, 2020 from the IP address 67.241.169.41. 25 Records obtained reveal that this IP

address is registered to a residence in Lancaster, which is owned by LARRY JORDAN’s and

SUTUKH EL’s father.

          82.    Law enforcement also examined telephone records to identify telephone calls

between telephone numbers 716-331-4350 (used by SUTUKH EL) and 716-715-0211 (used by

LARRY JORDAN).

          83.    Telephone records show that on or about April 22, 2020 (i.e., the day the PPP loan

was funded), these two telephone numbers communicated at least five times. The same records




24
     Records obtained reveal that this IP address is registered to an individual in Buffalo, New York.
25
  According to the bank records, some of these logins were done from an iPhone and others were
done from a computer using Windows Operating System.
                                                   18
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 21 of 65




showed that between on or about April 1, 2020, through on or about July 23, 2020, these telephone

numbers called each other at least 440 times.

 LARRY JORDAN and SUTUKH EL Spend Approximately $300,000 in PPP Loan Proceeds
                    for Expenses Unrelated to 5 Stems Inc26

       84.     Bank records for the 5 Stems Inc Account reveal that both LARRY JORDAN and

SUTUKH EL received proceeds from Bank 1 and used those funds for primarily non-business-

related expenditures and not for the permitted uses under the PPP.

       85.     Of the approximately $605,000 in loan proceeds, approximately $84,800 was used

to acquire securities through Brokerage Firm 1. An additional $42,665 of the loan proceeds was

withdrawn in cash, approximately $23,446 was spent on home improvements such as landscaping,

and approximately $14,348 was used to acquire a vehicle.

Wires to FLE LLC and Brokerage Firm 1

       86.     One day after receiving the PPP loan funds pursuant to Application 2, on or about

April 23, 2020, approximately $100,000 was wired from the 5 Stems Inc Account to a bank

account with account number ending in 1512 at Bank 3 in the name of FLE LLC with the memo

“investment” (the “FLE Account”)

       87.     The FLE Account is the name of a company owned by SUTUKH EL. According

to bank records from Bank 3, SUTUHK EL is the sole signatory on the FLE Account and the

address associated with the account is the Adams Street Address.

       88.     On or about April 24, 2020, and on or about May 1, 2020, $4,800 and $80,000,

respectively, were wired from FLE Account to a bank account with account number ending in

3054 at Brokerage Firm 1 in the name of SUTUKH EL (the “Brokerage Firm 1 Account”).


26
  As of September 4, 2020, approximately $286,087 in PPP loan funds from Application 2
remained in the 5 Stems Inc Account.
                                                19
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 22 of 65




Purchase of Vehicle

       89.    On or about April 29, 2020, approximately $14,348 was wired from the 5 Stems

Inc Account to Parkview Auto Sales.

       90.    Records obtained from Parkview Auto Sales show that on or about April 27, 2020,

a 2011 Chevrolet Silverado was purchased and registered to a relative of LARRY JORDAN and

SUTUKH EL.

       91.    On or about August 20, 2020, while conducting surveillance, law enforcement

observed the 2011 Chevrolet Silverado in the vicinity of the Crabapple Address.

Wires to HHDonDeck Corp.

       92.    On or about May 26, 2020 and on or about June 15, 2020, approximately $40,000

was wired from the 5 Stems Inc Account to a bank account with account number ending in 1713

at Bank 3 in the name of HHDonDeck (the “HHDonDeck Account”). The memo for both transfers

was “5 Stems Inc Payroll.”

       93.    According to bank records, SUTUKH EL is the sole signatory on the HHDonDeck

Account and the address associated with the account is the Adams Street Address.

       94.    Records for the HHDonDeck Account did not reveal any expenditures that would

suggest the funds were used for payroll purposes.

Transfers to LARRY JORDAN’s Personal Bank Account

       95.    Between on or about May 26, 2020 and on or about June 5, 2020, approximately

$15,000 was wired from the 5 Stems Inc Account to a bank account with account number ending

in 6993 at Bank 3 in the name of LARRY JORDAN (the “LARRY JORDAN Account”).

       96.    According to bank records, LARRY JORDAN is the sole signatory on this account

and the address associated with the account is the Crabapple Address.



                                               20
           Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 23 of 65




       97.     On or about June 16, 2020, approximately $20,000 was transferred from the

HHDonDeck Account to the LARRY JORDAN Account via teller transaction.

       98.     Law enforcement obtained photographs from the bank documenting this teller

transaction. Based on several images obtained of LARRY JORDAN and SUTUKH EL during the

course of the investigation, the individuals in the bank photographs appear to be LARRY JORDAN

and SUTUKH EL.

       99.     Records for the LARRY JORDAN Account were reviewed and there do not appear

to be any expenditures that would suggest the $20,000 in PPP loan funds were used for payroll

purposes.

Cash Withdrawals by SUTUKH EL

       100.    On or about May 14, 2020, and on or about May 27, 2020, there were two teller

cash withdrawals in the amounts of $4,000 and $7,500 from the FLE Account.

       101.    Law enforcement obtained photographs from the bank documenting these two

withdrawals. The individual in both photographs appears to be SUTUKH EL.

       102.    The investigation identified recent videos posted on YouTube that include

SUTUKH EL. One video, called “Hugo Hurt – Official BlackRock Freestyle Video,” was posted

or about June 14, 2020. Throughout the video, SUTUKH EL is holding large amounts of what

appear to be crisp $100 bills. This video was posted on or about June 14, 2020, which is one month

after SUTUKH EL withdrew $4,000 in cash from the FLE LLC account ending in 1512 and just

over two weeks after SUTUKH EL withdrew $7,500 in cash from the FLE LLC account ending

in 1512.

       103.    In the video, SUTUKH EL is holding a large amount of what appear to be clean

and crisp $100 bills. The money is spread out in a fan in SUTUKH EL’s hand.



                                               21
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 24 of 65




       104.    SUTUKH EL is wearing a red shirt that says HHD, which is the logo for

HHDonDeck. A similar logo can be seen on clothing worn by SUTUKH EL in surveillance

footage from the ATM withdrawals described above. A similar logo is also visible on surveillance

footage from on or about June 16, 2020, when $20,000 was transferred from the HHDonDeck

Account to the Jordan Account.

       105.    In another section of the video, SUTUKH EL is sitting on a blue leather sofa

holding a large amount of what appear to be clean and crisp $100 bills. In front of SUTUKH EL

appears to be a Pitbull dog. On or about August 20, 2020, law enforcement conducted surveillance

on the Adams Street Address and observed SUTUKH EL walking what appeared to be a Pitbull

dog on Adams Street.

      LARRY JORDAN and SUTUKH EL Submitted Additional Fraudulent PPP Loan
                               Applications

       106.    Between on or about April 14, 2020 and on or about April 26, 2020, LARRY

JORDAN and SUTUKH EL conspired to and did submit at least six other fraudulent PPP loan

applications on behalf of five different entities. The following chart summarizes these loans:

                                         Approx.
                                                                       Approx.
   Application    Name of Business       Amount         Lender                          Status
                                                                        Date
    Number                               Sought
                  5 Stems of
        3                               $4,978,700     Lender 1     April 26, 2020    Unfunded
                  Kentucky, L.L.C.
        4         5 Stems L.L.C.        $425,416        Bank 1      April 14, 2020    Unfunded

        5         5 Stems L.L.C.        $425,400       Lender 1     April 15, 2020    Unfunded

        6         FLE LLC               $185,000       Lender 1     April 25, 2020    Unfunded

        7         HHDonDeck             $81,900        Lender 1     April 25, 2020    Unfunded
                  Standard
        8                               $287,100       Lender 1     April 25, 2020    Unfunded
                  Ascension



                                               22
              Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 25 of 65




             107.    Each of these loans listed either LARRY JORDAN or SUTUKH EL as the primary

      contact. Likewise, certain identifying and contact information within these six applications

      matches the information provided in Application 1 and Application 2 (submitted in the name of 5

      Stems Inc) or was the same as another application submitted in the name of another business. The

      chart below summarizes some of the information provided in these applications:




                                      Avg.                                   Applicant’s     IP Address
 Loan      Primary     Number of                   Business    Telephone
                                     Monthly                                  Primary       Used to Submit
Number     Contact     Employees                   Address      Number
                                     Payroll                                  Address        Application



                                                                              Crabapple      Crabapple IP
            LARRY                                 Tennessee     716-715-
  3                       330       $1,991,500                                 Address
           JORDAN                                  Address        0211
                                                                                North      136.143.188.12 27
           SUTUKH                                  Indiana      866-602-
  4                        59        $170,166                                 Carolina
             EL                                    Address        0006
                                                                               Address
                                                                                North        Crabapple IP
           SUTUKH                                  Indiana      866-602-
  5                        59        $170,166                                 Carolina
             EL                                    Address        0006
                                                                               Address
                                                   Williams                     North        Crabapple IP
            LARRY                                               716-603-
  6                        24         $74,220       Street                    Carolina
           JORDAN                                                 6000
                                                   Address                     Address
                                                   Williams                     North        Crabapple IP
           SUTUKH                                               716-603-
  7                        11         $32,794       Street                    Carolina
             EL                                                   6000
                                                   Address                     Address
                                                                              Crabapple      Crabapple IP
            LARRY                                  Depew,       716-715-
  8                        19        $114,855                                  Address
           JORDAN                                 New York        0211




      27
         Records obtained reveal that this IP address is owned by ZoHo Corporation. ZoHo Corporation
      is the host for the email addresses larry.jordan@5stems.com and accounting@5stems.com.

                                                    23
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 26 of 65




        108.       A number of emails were sent between the lenders and applicants concerning these

applications. For example, the email address accounting@5stems.com was used to provide IRS

forms in support of Application 1. The email was signed by “Tina Pham”. The same email address

was used to submit Application 2 and the payroll register in support of Application 2. That email

address was also listed as personal email address for the primacy contact (SUTUKH EL) on

Application 4. 28

        109.       Further indicia of fraud were identified.

        110.       For example, as supporting documentation for the reported payroll, purported IRS

Forms 940 and IRS Forms 941 were submitted along with all of the applications except for

Application 4 and Application 5 (5 Stems L.L.C.). 29 Information obtained from the IRS confirms

that it has no records of the IRS Forms 940 and IRS Forms 941 submitted in support of those six

applications. 30

        111.       Similarly, in support of each application, the applicants submitted Excel

spreadsheets purporting to be each entity’s payroll register for 2019. The payroll registers had the

exact same format: the employees were identified by first name only, a street address with no city,

state or zip code and a social security number. A redline went through a portion of each social

security number. All of the employees had the same start date of January 1, 2019.



28
  Application 4 originally answered “No” in response to the question whether all of the applicant’s
employees reside in the United States. This same answer was provided on Application 1 before
being corrected on Application 2.
29
  In support of Application 4 and Application 5, an IRS Form W-3 for 2019 was submitted. The
IRS Form W-3 was not signed or dated. At this stage in the investigation, law enforcement has
not obtained information from the IRS as to whether 5 Stems L.L.C. filed an IRS Form W-3 for
2019. The investigation is ongoing.
30
  Information from the IRS also confirms that 5 Stems L.L.C. did not file an IRS Form 940 or IRS
Form 941 in 2019 or 2020.
                                                    24
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 27 of 65




       112.    A comparison of these payroll registers revealed that 142 employees listed on the

payroll register submitted with Application 1 and Application 2 (5 Stems Inc) are also listed on

the payroll register submitted with Application 3 (5 Stems of Kentucky, L.L.C.). Similarly, 58 of

the employees listed on the payroll registers submitted with Application 4 and Application 5 (5

Stems L.L.C.) are also listed on the payroll register submitted with Application 3. Likewise, all

of the employees listed on the payroll registers submitted with Application 6, Application 7, and

Application 8 are also listed on the payroll register submitted with Application 3.

                    Evidence Likely to be Present in the Subject Premises

       113.    The requested warrants would authorize searches of the premises identified in

Attachment A-1 and Attachment A-2, including all structures (such as detached garages and

trailers) on the premises and all electronic devices contained in or upon them. The requested

warrants would also authorize searches of the persons of LARRY JORDAN and SUTUKH EL.

As discussed above, LARRY JORDAN currently resides at 19 Crabapple Lane, Lancaster, New

York, and SUTUKH EL currently resides at 310 Adams Street, Buffalo, New York.

       114.    As described above, the evidence in this investigation consists largely of

electronically stored information, such as fraudulent documents and records of communications

with PPP lenders and financial institutions. Based on my training and experience, I know that this

type of information may be—and frequently is—stored on small and readily portable devices, such

as laptop computers, flash drives and external hard drives, and mobile devices, like cell phones

and smartphones. For example, as described in paragraphs 78 through 81, bank records show that

a user logged into Bank 2’s online system numerous times on April 22, 2020 (i.e., the day the PPP

loan was funded) using both an iPhone and a computer using Windows Operating System. All of




                                                25
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 28 of 65




these items—in particular, mobile devices—can readily be concealed and secreted upon one’s

person or in one’s home.

       115.    As further discussed above, five fraudulent PPP loan applications were submitted

using an IP address registered to 19 Crabapple Lane, Lancaster, New York. Likewise, on the day

the PPP loan for 5 Stems Inc was funded, a user logged into the 5 Stems Inc Account using that

same IP address.      Finally, a review of LARRY JORDAN’s bank records shows home

improvement-related expenses after the PPP loan was funded. Therefore, there is probable cause

to believe that evidence, fruits, and instrumentalities of the Subject Offenses will be found at 19

Crabapple Lane, Lancaster, New York.

       116.    Although SUTUKH EL listed a North Carolina address on several PPP loan

applications, for the reasons stated above, there is probable cause to believe that SUTUKH EL in

fact lives at 310 Adams Street, Buffalo, New York. As discussed above, recent surveillance has

shown SUTUKH EL to live at 310 Adams Street, and a recent rap video featuring SUTUKH EL

was filmed in Buffalo, New York. 31 There is also probable cause to believe that evidence, fruits,

and instrumentalities of the Subject Offenses will be found at 310 Adams Street, Buffalo, New

York. For example, as described in paragraph 79, an iPhone associated with the telephone number

716-331-4350 (the number used by SUTUKH EL to call Bank 1) was used to login to the 5 Stems

Inc Account numerous times on April 22, 2020. Based on my training and experience, a person’s

cell phone is likely to be either on their person or in their home. Further, 310 Adams Street is the

listed address of (1) the FLE Account, whose sole signatory is SUTUKH EL, and which received




31
  For example, the video is entitled “BlackRock Freestyle,” which appears to be a reference to the
Black Rock neighborhood of Buffalo; some scenes were filmed in front of a home on Parade Street
in Buffalo; and one shot shows a Niagara Frontier Transit Authority sign for the Black Rock
Riverside Transit Hub.
                                                26
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 29 of 65




approximately $100,000 in PPP loan funds one day after the PPP funds were disbursed; and (2)

the HHDonDeck Account, which received approximately $40,000 of PPP loan funds. Finally,

recent surveillance has shown renovations at 310 Adams Street, Buffalo, New York and bank

records described in this affidavit show home improvement-related expenditures.

                                    TECHNICAL TERMS

       117.   Based on my training and experience, I use the following technical terms to convey

the following meanings:

          a. IP Address: The Internet Protocol address (or simply “IP address”) is a unique

              numeric address used by computers on the Internet. An IP address looks like a

              series of four numbers, each in the range 0-255, separated by periods (e.g.,

              121.56.97.178). Every computer attached to the Internet must be assigned an IP

              address so that Internet traffic sent from and directed to that computer may be

              directed properly from its source to its destination. Most Internet service providers

              control a range of IP addresses. Some computers have static—that is, long-term—

              IP addresses, while other computers have dynamic—that is, frequently changed—

              IP addresses.

          b. Internet: The Internet is a global network of computers and other electronic devices

              that communicate with each other. Due to the structure of the Internet, connections

              between devices on the Internet often cross state and international borders, even

              when the devices communicating with each other are in the same state.

          c. Storage medium: A storage medium is any physical object upon which computer

              data can be recorded. Examples include hard disks, RAM, floppy disks, flash

              memory, CD-ROMs, and other magnetic or optical media.



                                               27
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 30 of 65




        COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

       118.    As described above and in Attachment B-1, this application seeks permission to

search for records that might be found on the Subject Premises, in whatever form they are found.

One form in which the records might be found is data stored on a computer’s hard drive or other

storage media. Thus, the warrants applied for would authorize the seizure of electronic storage

media or, potentially, the copying of electronically stored information, all under Rule 41(e)(2)(B).

       119.    Probable cause. I submit that if a computer or storage medium is found in the

Subject Premises, there is probable cause to believe those records will be stored on that computer

or storage medium, for at least the following reasons:

           a. Based on my knowledge, training, and experience, I know that computer files or

               remnants of such files can be recovered months or even years after they have been

               downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic

               files downloaded to a storage medium can be stored for years at little or no cost.

               Even when files have been deleted, they can be recovered months or years later

               using forensic tools. This is so because when a person “deletes” a file on a

               computer, the data contained in the file does not actually disappear; rather, that data

               remains on the storage medium until it is overwritten by new data.

           b. Therefore, deleted files, or remnants of deleted files, may reside in free space or

               slack space—that is, in space on the storage medium that is not currently being used

               by an active file—for long periods of time before they are overwritten. In addition,

               a computer’s operating system may also keep a record of deleted data in a “swap”

               or “recovery” file.




                                                 28
           Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 31 of 65




            c. Wholly apart from user-generated files, computer storage media—in particular,

               computers’ internal hard drives—contain electronic evidence of how a computer

               has been used, what it has been used for, and who has used it. To give a few

               examples, this forensic evidence can take the form of operating system

               configurations, artifacts from operating system or application operation, file system

               data structures, and virtual memory “swap” or paging files. Computer users

               typically do not erase or delete this evidence, because special software is typically

               required for that task. However, it is technically possible to delete this information.

            d. Similarly, files that have been viewed via the Internet are sometimes automatically

               downloaded into a temporary Internet directory or “cache.”

            e. Based on actual inspection of other evidence related to this investigation, such as

               the documents submitted in support of PPP applications, I am aware that computer

               equipment was used to generate documents used in the fraud scheme. There is

               reason to believe that there is a computer system currently located on the Subject

               Premises.

       120.    Forensic evidence. As further described in Attachment B-1, this application seeks

permission to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how computers

were used, the purpose of their use, who used them, and when. There is probable cause to believe

that this forensic electronic evidence will be on any storage medium in the Subject Premises

because:

            a. Data on the storage medium can provide evidence of a file that was once on the

               storage medium but has since been deleted or edited, or of a deleted portion of a



                                                 29
Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 32 of 65




    file (such as a paragraph that has been deleted from a word processing file). Virtual

    memory paging systems can leave traces of information on the storage medium that

    show what tasks and processes were recently active.          Web browsers, e-mail

    programs, and chat programs store configuration information on the storage

    medium that can reveal information such as online nicknames and passwords.

    Operating systems can record additional information, such as the attachment of

    peripherals, the attachment of USB flash storage devices or other external storage

    media, and the times the computer was in use. Computer file systems can record

    information about the dates files were created and the sequence in which they were

    created, although this information can later be falsified.

 b. As explained herein, information stored within a computer and other electronic

    storage media may provide crucial evidence of the “who, what, why, when, where,

    and how” of the criminal conduct under investigation, thus enabling the

    government to establish and prove each element or alternatively, to exclude the

    innocent from further suspicion. In my training and experience, information stored

    within a computer or storage media (e.g., registry information, communications,

    images and movies, transactional information, records of session times and

    durations, internet history, and anti-virus, spyware, and malware detection

    programs) can indicate who has used or controlled the computer or storage media.

    This “user attribution” evidence is analogous to the search for “indicia of

    occupancy” while executing a search warrant at a residence. The existence or

    absence of anti-virus, spyware, and malware detection programs may indicate

    whether the computer was remotely accessed, thus inculpating or exculpating the



                                     30
Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 33 of 65




    computer owner. Further, computer and storage media activity can indicate how

    and when the computer or storage media was accessed or used. For example, as

    described herein, computers typically contain information that log: computer user

    account session times and durations, computer activity associated with user

    accounts, electronic storage media that connected with the computer, and the IP

    addresses through which the computer accessed networks and the internet. Such

    information allows investigators to understand the chronological context of

    computer or electronic storage media access, use, and events relating to the crime

    under investigation. Additionally, some information stored within a computer or

    electronic storage media may provide crucial evidence relating to the physical

    location of other evidence and the suspect. For example, images stored on a

    computer may both show a particular location and have geolocation information

    incorporated into its file data. Such file data typically also contains information

    indicating when the file or image was created. The existence of such image files,

    along with external device connection logs, may also indicate the presence of

    additional electronic storage media (e.g., a digital camera or cellular phone with an

    incorporated camera). The geographic and timeline information described herein

    may either inculpate or exculpate the computer user. Last, information stored

    within a computer may provide relevant insight into the computer user’s state of

    mind as it relates to the offense under investigation. For example, information

    within the computer may indicate the owner’s motive and intent to commit a crime

    (e.g., internet searches indicating criminal planning), or consciousness of guilt (e.g.,

    running a “wiping” program to destroy evidence on the computer or password



                                      31
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 34 of 65




              protecting/encrypting such evidence in an effort to conceal it from law

              enforcement).

           c. A person with appropriate familiarity with how a computer works can, after

              examining this forensic evidence in its proper context, draw conclusions about how

              computers were used, the purpose of their use, who used them, and when.

           d. The process of identifying the exact files, blocks, registry entries, logs, or other

              forms of forensic evidence on a storage medium that are necessary to draw an

              accurate conclusion is a dynamic process. While it is possible to specify in advance

              the records to be sought, computer evidence is not always data that can be merely

              reviewed by a review team and passed along to investigators. Whether data stored

              on a computer is evidence may depend on other information stored on the computer

              and the application of knowledge about how a computer behaves. Therefore,

              contextual information necessary to understand other evidence also falls within the

              scope of the warrant.

           e. Further, in finding evidence of how a computer was used, the purpose of its use,

              who used it, and when, sometimes it is necessary to establish that a particular thing

              is not present on a storage medium. For example, the presence or absence of

              counter-forensic programs or anti-virus programs (and associated data) may be

              relevant to establishing the user’s intent.

       121.   Necessity of seizing or copying entire computers or storage media. In most cases,

a thorough search of a premises for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent with the

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make an



                                                32
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 35 of 65




image copy of storage media. Generally speaking, imaging is the taking of a complete electronic

picture of the computer’s data, including all hidden sectors and deleted files. Either seizure or

imaging is often necessary to ensure the accuracy and completeness of data recorded on the storage

media, and to prevent the loss of the data either from accidental or intentional destruction. This is

true because of the following:

           a. The time required for an examination. As noted above, not all evidence takes the

               form of documents and files that can be easily viewed on site. Analyzing evidence

               of how a computer has been used, what it has been used for, and who has used it

               requires considerable time, and taking that much time on premises could be

               unreasonable. As explained above, because the warrant calls for forensic electronic

               evidence, it is exceedingly likely that it will be necessary to thoroughly examine

               storage media to obtain evidence. Storage media can store a large volume of

               information. Reviewing that information for things described in the warrant can

               take weeks or months, depending on the volume of data stored, and would be

               impractical and invasive to attempt on-site.

           b. Technical requirements. Computers can be configured in several different ways,

               featuring a variety of different operating systems, application software, and

               configurations. Therefore, searching them sometimes requires tools or knowledge

               that might not be present on the search site. The vast array of computer hardware

               and software available makes it difficult to know before a search what tools or

               knowledge will be required to analyze the system and its data on the Premises.

               However, taking the storage media off-site and reviewing it in a controlled

               environment will allow its examination with the proper tools and knowledge.



                                                 33
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 36 of 65




           c. Variety of forms of electronic media. Records sought under this warrant could be

               stored in a variety of storage media formats that may require off-site reviewing with

               specialized forensic tools.

       122.    Nature of examination.        Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

warrant, and would authorize a later review of the media or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant.

       123.    Because several people may share the Subject Premises as a residence, it is possible

that the Subject Premises will contain storage media that are predominantly used, and perhaps

owned, by persons who are not suspected of a crime. If it is nonetheless determined that that it is

possible that the things described in this warrant could be found on any of those computers or

storage media, the warrant applied for would permit the seizure and review of those items as well.

         BACKGROUND CONCERNING ZOHO CORPORATION AND EMAIL

       124.    I anticipate executing the warrant to Zoho Corporation under the Electronic

Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and

2703(c)(1)(A), by using the warrant to require Zoho Corporation to disclose to the government

copies of the records and other information (including the content of communications) particularly

described in Section I of Attachment B-2. Upon receipt of the information described in Section I

of Attachment B-2, government-authorized persons will review that information to locate the items

described in Section II of Attachment B-2. Pursuant to 18 U.S.C. § 2703(g), the presence of a law



                                                 34
          Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 37 of 65




enforcement officer is not required for the service or execution of this warrant on Zoho

Corporation.

        125.     In my training and experience, and based on a review of publicly-available

information, I have learned that Zoho Corporation provides a variety of online services, including

electronic mail (“email”) access to businesses, which allows a business to create a domain name

(such as “@5stems.com”) and custom email addresses using that domain name, such as the email

accounts listed in Attachment A-5. Based on information contained in Zoho Corporation’s privacy

policy (available at https://www.zoho.com/privacy.html), when a user “sign[s] up for an account

to access one or more of [Zoho’s] services, [Zoho] asks for information like [the user’s] name,

contact number, email address, company name and country to complete the account signup

process.” Further, some of Zoho’s mobile applications have access to the user’s camera, call

history, contact information, photo library, and other information stored on his or her mobile

device. (A user may elect to disable these features.) Therefore, the computers of Zoho Corporation

are likely to contain stored electronic communications (including retrieved and unretrieved email

for Zoho Corporation subscribers) and information concerning subscribers and their use of Zoho

Corporation services, such as account access information, email transaction information, and

account application information. In my training and experience, such information may constitute

evidence of the crimes under investigation because the information can be used to identify the

account’s user or users. Likewise, evidence of who was using an email account may be found in

address books, contact lists, email in the account, and attachments to emails, including pictures

and files. Based on my training and my experience, I know that, even if subscribers insert false

information to conceal their identity, this information often provides clues to their identity,

location, or illicit activities.



                                               35
           Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 38 of 65




       126.    In my training and experience, email providers typically retain certain transactional

information about the creation and use of each account on their systems. This information can

include the date on which the account was created, the length of service, records of log-in (i.e.,

session) times and durations, the types of service utilized, the status of the account (including

whether the account is inactive or closed), the methods used to connect to the account (such as

logging into the account via the provider’s website), and other log files that reflect usage of the

account. In addition, email providers often have records of the Internet Protocol address (“IP

address”) used to register the account and the IP addresses associated with particular logins to the

account. Because every device that connects to the Internet must use an IP address, IP address

information can help to identify which computers or other devices were used to access the email

account.

       127.    In my training and experience, in some cases, email account users will

communicate directly with an email service provider about issues relating to the account, such as

technical problems, billing inquiries, or complaints from other users. Email providers typically

retain records about such communications, including records of contacts between the user and the

provider’s support services, as well as records of any actions taken by the provider or user as a

result of the communications. In my training and experience, such information may constitute

evidence of the crimes under investigation because the information can be used to identify the

account’s user or users.

       128.    As explained herein, information stored in connection with an email account may

provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct

under investigation, thus enabling the government to establish and prove each element or

alternatively, to exclude the innocent from further suspicion. In my training and experience, the



                                                36
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 39 of 65




information stored in connection with an email account can indicate who has used or controlled

the account. This “user attribution” evidence is analogous to the search for “indicia of occupancy”

while executing a search warrant at a residence. For example, email communications, contacts

lists, and images sent (and the data associated with the foregoing, such as date and time) may

indicate who used or controlled the account at a relevant time. Further, information maintained

by the email provider can show how and when the account was accessed or used. For example, as

described below, email providers typically log the Internet Protocol (IP) addresses from which

users access the email account, along with the time and date of that access. By determining the

physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the email account access and use relating to the crime

under investigation. This geographic and timeline information may tend to either inculpate or

exculpate the account owner. Additionally, information stored at the user’s account may further

indicate the geographic location of the account user at a particular time (e.g., location information

integrated into an image or video sent via email). Last, stored electronic data may provide relevant

insight into the email account owner’s state of mind as it relates to the offense under investigation.

For example, information in the email account may indicate the owner’s motive and intent to

commit a crime (e.g., communications relating to the crime), or consciousness of guilt (e.g.,

deleting communications in an effort to conceal them from law enforcement).

                                          CONCLUSION

       129.    Based on the foregoing, I believe there is probable cause to believe that LARRY

JORDAN and SUTUKH EL, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo Hurtington, have

committed violations of the Subject Offenses and that evidence, fruits, and instrumentalities of

those violations will be found in and on the persons, locations, and accounts identified in



                                                 37
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 40 of 65




Attachments A-1 – A-5. I therefore request that the Court issue the attached search warrants

authorizing searches of the persons and locations identified in Attachments A-1 – A-4 for the items

identified in Attachments B-1. I also request that the Court issue the attached search warrant

authorizing searches of the accounts identified in Attachment A-5 for the items identified in

Attachment B-2.

                                  REQUEST FOR SEALING

       130.    I further request that the Court order that all papers in support of this application,

including the affidavit and search warrants, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of the

targets of the investigation. Accordingly, there is good cause to seal these documents because

their premature disclosure may seriously jeopardize that investigation.




                                                38
Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 41 of 65




8th
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 42 of 65




                                  ATTACHMENT A-1
       The premises to be searched is 19 Crabapple Lane, Lancaster, New York (“the
Subject Premises”). The residence is a two-story family home with cream colored siding and
maroon shutters and is situated on a corner lot. The number “19” is displayed in black on
one of the front porch posts.
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 43 of 65




                                      ATTACHMENT A-2
       The premises to be searched is 310 Adams Street, Buffalo, New York (“the Subject
Premises”). The residence is a two-story family home with white siding and black trim. The
numbers “310” are displayed on the siding to the left of the front door of the residence. The
residence includes two detached garages as well as the trailer picture below.
Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 44 of 65
       Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 45 of 65




                            ATTACHMENT A-3




Name: Larry D. Jordan II
Date of Birth: 9/28/1977
Height: 5’5”
Hair: Black
Eyes: Hazel
       Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 46 of 65




                               ATTACHMENT A-4




Name: Sutukh El, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo Hurtington
Date of Birth: 09/03/1982
Height: 5’7”
Hair: Black
Eyes: Brown
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 47 of 65




                                  ATTACHMENT A-5
                                 Property to Be Searched
      This warrant applies to information associated with the following email accounts, each
is which is stored at premises owned, maintained, controlled, or operated by Zoho
Corporation, a company headquartered at 4141 Hacienda Dr., Pleasanton, California 94588:
       Larry.Jordan@5stems.com
       Accounting@5stems.com
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 48 of 65




                                    ATTACHMENT B-1
                     ITEMS TO BE SEARCHED FOR AND SEIZED


        All records, information, and physical evidence, in whatever form (including the
contents of all wire and electronic communications, attachments, stored files, print outs, and
header information) that contain evidence, fruits, and instrumentalities of violations of 18
U.S.C. § 1343 (Wire Fraud), 18 U.S.C. § 1344 (Bank Fraud), 18 U.S.C. § 1349 (Conspiracy
to Commit Wire Fraud and Bank Fraud), 18 U.S.C. § 1014 (False Statements to a Financial
Institution), and 18 U.S.C. § 1957 (Engaging in a Monetary Transaction with Criminally
Derived Property), including:
       1.      All communications, correspondence, documents, or records related to loans
under the Paycheck Protection Program (“PPP”), including, as examples, all loan
applications, supporting documentation, communications with lenders, bank records
designated as the accounts to receive proceeds, and any other bank documentation;
       2.      All records and documents related to 5 Stems Inc, 5 Stems L.L.C., 5 Stems of
Kentucky, L.L.C.; FLE LLC; and HHDonDeck (hereinafter “the Entities”), including payroll
documentation, tax forms, bank account information, financial statements, mail (whether
opened or unopened), and communications involving officers, employee, agents, affiliates,
contractors, customers, and suppliers of the Entities;
       3.      All communications, in whatever form, between Larry D. Jordan II and Sutukh
El, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo Hurtington;
       4.      U.S. currency;
       5.      Payroll records, time cards, personnel schedules, training records, and all other
records identifying all individuals employed by the Entities;
       6.      All federal and state personal or corporate tax records to include Internal
Revenue Service Forms 1040, 1099, W-2, W-3, 940, 941, and 944 for the Entities for tax year
2018 to the present;
       7.      All financial records related to the Entities, including, as examples, ledgers,
statements, checkbooks, and deposit tickets;
       8.      The identities of persons who collaborated, conspired, or assisted (knowingly
or unknowingly) in the submission and/or creation of PPP applications and related
documents, including all communications between such persons and Larry D. Jordan II
and/or Sutukh El, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo Hurtington;
       9.      Evidence showing who completed and submitted PPP applications (including
all supporting documentation) on behalf of the Entities;
       10.     Evidence showing the state of mind of the person(s) who submitted PPP
applications on behalf of the Entities;
       11.     All items purchased with funding provided by a PPP loan;
       12.     Documents and records of personal property reflecting the identity of persons
occupying, possessing, residing in, owning, frequenting or controlling the premises to be
searched or property therein, including keys, rental agreements and records, property
acquisition records, utility bills and receipts, photographs, answering machine tape
recordings, telephone, vehicle and/or vessel records, canceled mail envelopes,
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 49 of 65




correspondences, safety deposit records, canceled checks, credit card records, travel
documents, and personal identification documents;
       13.    All electronic devices, computers, or storage media (including, but not limited
to, desktop computers, laptops, cellular phones, smartphones, and tablets) that are, or
reasonably appear to be, within the custody and control of the Entities, Larry D. Jordan II
and Sutukh El, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo Hurtington. The
following items may be seized and searched for all records and information listed in
paragraphs 1-12, and for any items identified in paragraph 14:
           a. Computer hardware, meaning all computer equipment owned or used by the
              Entities, Larry D. Jordan II, and Sutukh El, a/k/a Curtis Jordan, a/k/a Hugo
              Hurt, a/k/a Hugo Hurtington. Included within the definition of computer
              hardware are electronic devices capable of data processing (such as central
              processing units, laptop or notebook or netbook or tablet computers, personal
              digital assistants, gaming consoles, and wireless communication devices to
              include cellular telephone devices capable of internet access); peripheral
              input/output devices (such as keyboards, printers, scanners, plotters, monitors,
              and drives intended for removable media); related communications devices
              (such as modems, wireless routers, cables and connections); storage media,
              defined below; and security devices, also defined below.
           b. Computer software owned or used by the Entities, Larry D. Jordan II, and
              Sutukh El, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo Hurtington,
              meaning all data, information, instructions, programs, or program codes,
              stored in the form of electronic, magnetic, optical, or other media, which is
              capable of being interpreted by a computer or its related components.
              Computer software may also include data, data fragments, or control
              characters integral to the operation of computer software, such as operating
              systems software, applications software, utility programs, compilers,
              interpreters, communications software, and other programming used or
              intended to be used to communicate with computer components.
           c. Computer related documentation, meaning all written, recorded, printed, or
              electronically stored material that explains or illustrates the configuration or
              use of any seized computer hardware, software, or related items.
           d. Data security devices, meaning any devices, programs, or data whether
              themselves in the nature of hardware or software that can be used or are
              designed to be used to restrict access to, or to facilitate concealment of, any
              computer hardware, computer software, computer related documentation, or
              electronic data records. Such items include user names and passwords; data
              security hardware (such as encryption devices, chips, and circuit boards); data
              security software or information (such as test keys and encryption codes); and
              similar information that is required to access computer programs or date or to
              otherwise render programs or data into usable form.
           e. All storage media owned or used by the Entities, Larry D. Jordan II, and
              Sutukh El, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo Hurtington,
              capable of collecting, storing, maintaining, retrieving, concealing, transmitting,
              and backing up electronic data. Included within this paragraph is all
              information stored in the form of electronic, magnetic, optical, or other coding
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 50 of 65




              on computer media or on media capable of being read by a computer or
              computer related equipment, such as fixed hard disks, external hard disks,
              removable hard disks (including micro drives), floppy diskettes, compact disks
              (CDs), digital video disks (DVDs), tapes, optical storage devices, laser disks,
              thumb drives, iPods, digital cameras, memory cards (e.g. CF or SD cards),
              Xboxes, flash drives, or other memory storage devices. This also includes areas
              with digital storage capability on devices such as printers, scanners, wireless
              routers, etc.
          f. Routers, modems, and network equipment used to connect computers to the
              Internet.
      14.     For all computer or storage medium whose seizure is authorized by this
warrant, and all computer or storage medium that contains or in which is stored records or
information that is otherwise called for by this warrant (hereinafter, “Computer”):
          a. Evidence of who used, owned, or controlled the Computer at the time the
              things described in this Attachment were created, edited, or deleted, such as
              logs, registry entries, configuration files, saved usernames and passwords,
              documents, browsing history, user profiles, email, email contacts, “chat,”
              instant messaging logs, photographs, and correspondence;
          b. Evidence of software that would allow others to control the Computer, such as
              viruses, Trojan horses, and other forms of malicious software, as well as
              evidence of the presence or absence of security software designed to detect
              malicious software;
          c. Evidence of the lack of such malicious software;
          d. Evidence indicating how and when the computer was accessed or used to
              determine the chronological context of computer access, use, and events
              relating to applications for PPP loans;
          e. Evidence indicating the computer user’s state of mind as it relates to applying
              for, and spending funds obtained from, PPP loans;
          f. Evidence of the attachment to the Computer of other storage devices or similar
              containers for electronic evidence;
          g. Evidence of counter-forensic programs (and associated data) that are designed
              to eliminate data from the Computer;
          h. Evidence of the times the Computer was used;
          i. Passwords, encryption keys, and other access devices that may be necessary to
              access the Computer;
          j. Documentation and manuals that may be necessary to access the Computer or
              to conduct a forensic examination of the Computer;
          k. Records of or information about Internet Protocol addresses used by the
              Computer;
          l. Records of or information about the Computer Internet activity, including
              firewall logs, caches, browser history and cookies, “bookmarked” or “favorite”
              web pages, search terms that the user entered into any Internet search engine,
              and records of user-typed web addresses;
          m. Contextual information necessary to understand the evidence described in this
              Attachment.
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 51 of 65




        15.    This warrant authorizes the executing agents to take entry and exit
photographs, as well as photographs of all seized items and evidence. Further, executing
agents are authorized to photograph all evidence, fruits, and instrumentalities of the crimes
listed above that are immovable or which cannot be physically seized in a reasonable manner.
Such evidence includes, but is not limited to, plants, landscaping, decking, concrete, and other
home improvements and renovations in any form.


       Definitions
        As used above, the terms “records” and “information” includes all forms of creation
or storage, including any form of computer or electronic storage (such as hard disks or other
media that can store data); any handmade form (such as writing); any mechanical form (such
as printing or typing); and any photographic form (such as microfilm, microfiche, prints,
slides, negatives, videotapes, motion pictures, or photocopies).
        The term “computer” includes all types of electronic, magnetic, optical,
electrochemical, or other high speed data processing devices performing logical, arithmetic,
or storage functions, including desktop computers, notebook computers, mobile phones,
tablets, server computers, and network hardware.
      The term “storage medium” includes all physical objects upon which computer data
can be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-
ROMs, and other magnetic or optical media.
       During the execution of the search of the Premises described in Attachments A-1 and
A-2, and/or the Subject Persons described in Attachments A-3 and A-4, law enforcement
personnel are authorized to press the fingers, including thumbs, or present the irises or faces
of individuals found at the Subject Premises to the appropriate biometric sensor on locked
electronic devices for the purpose of attempting to unlock the device via a biometric
authentication feature in order to search the contents as authorized by this warrant.
       This warrant authorizes a review of electronic storage media and electronically stored
information seized or copied pursuant to this warrant in order to locate evidence, fruits, and
instrumentalities described in this warrant. The review of this electronic data may be
conducted by any government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the government, attorney
support staff, and technical experts. Pursuant to this warrant, investigative agencies may
deliver a complete copy of the seized or copied electronic data to the custody and control of
attorneys for the government and their support staff for their independent review.
       During the execution of this search warrant, if the executing agents determine that
forensic searches and analysis of any Computer for evidence of the crimes identified above
would be more appropriately made in a controlled environment, the Computer may be
removed and examined at a laboratory location.
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 52 of 65




                                    ATTACHMENT B-2
                               Particular Things to be Seized

   I.     Information to be disclosed by Zoho Corporation (the “Provider”)


        To the extent that the information described in Attachment A-5 is within the
possession, custody, or control of the Provider, regardless of whether such information is
located within or outside of the United States, and including any emails, records, files, logs,
or information that have been deleted but are still available to the Provider, or have been
preserved pursuant to a request made under 18 U.S.C. § 2703(f), on or before 14 days, the
Provider is required to disclose the following information to the government for each
account or identifier listed in Attachment A-5:
        a.     The contents of all emails associated with the accounts from March 1, 2020
through and including the date on which this warrant is served, including stored or
preserved copies of emails sent to and from the account, draft emails, the source and
destination addresses associated with each email, the date and time at which each email was
sent, and the size and length of each email;
        b.     All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers and other identifiers, records of
session times and durations, the date on which the account was created, the length of
service, the IP address used to register the account, log-in IP addresses associated with
session times and dates, account status, alternative email addresses provided during
registration, methods of connecting, log files, and means and source of payment (including
any credit or bank account number);
        c.     The types of service utilized;
        d.     All records or other information stored by an individual using the account,
including address books, contact and buddy lists, calendar data, pictures, and files; and
        e.     All records pertaining to communications between the Provider and any
person regarding the account, including contacts with support services and records of
actions taken.

       The Provider is hereby ordered to disclose the above information to the government
within 14 days from the date on which this warrant is served on the Provider.
         Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 53 of 65




   II.     Information to be searched for and seized by the government

       All records, information, and physical evidence, in whatever form (including the
contents of all wire and electronic communications, attachments, stored files, print outs, and
header information) that contain evidence, fruits, and instrumentalities of violations of 18
U.S.C. § 1343 (Wire Fraud), 18 U.S.C. § 1344 (Bank Fraud), 18 U.S.C. § 1349 (Conspiracy
to Commit Bank Wire Fraud and Bank Fraud), 18 U.S.C. § 1014 (False Statements to a
Financial Institution), and 18 U.S.C. § 1957 (Engaging in a Monetary Transaction with
Criminally Derived Property), including:
       1.      All communications, correspondence, documents, or records related to loans
under the Paycheck Protection Program (“PPP”), including, as examples, all loan
applications, supporting documentation, communications with lenders, bank records
designated as the accounts to receive proceeds, and any other bank documentation;
       2.      All records and documents related to 5 Stems Inc, 5 Stems L.L.C., 5 Stems of
Kentucky, L.L.C.; FLE LLC; and HHDonDeck (hereinafter “the Entities”), including payroll
documentation, tax forms, bank account information, financial statements, mail (whether
opened or unopened), and communications involving officers, employee, agents, affiliates,
contractors, customers, and suppliers of the Entities;
       3.      All communications, in whatever form, between Larry D. Jordan II and Sutukh
El, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo Hurtington;
       4.      Payroll records, time cards, personnel schedules, training records, and all other
records identifying all individuals employed by the Entities;
       5.      All federal and state personal or corporate tax records to include Internal
Revenue Service Forms 1040, 1099, W-2, W-3, 940, 941, and 944 for the Entities for tax year
2018 to the present;
       6.      All financial records related to the Entities, including, as examples, ledgers,
statements, checkbooks, and deposit tickets;
       7.      The identities of persons who collaborated, conspired, or assisted (knowingly
or unknowingly) in the submission and/or creation of PPP applications and related
documents, including all communications between such persons and Larry D. Jordan II and
Sutukh El, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo Hurtington;
       8.      Evidence showing who completed and submitted PPP applications (including
all supporting documentation) on behalf of the Entities;
       9.      Evidence showing the state of mind of the person(s) who submitted PPP
applications on behalf of the Entities;
       10.     All items purchased with funding provided by a PPP loan;
       11.     Documents and records of personal property reflecting the identity of persons
occupying, possessing, residing in, owning, frequenting or controlling the premises to be
searched or property therein, including keys, rental agreements and records, property
acquisition records, utility bills and receipts, photographs, answering machine tape
recordings, telephone, vehicle and/or vessel records, canceled mail envelopes,
correspondences, safety deposit records, canceled checks, credit card records, travel
documents, and personal identification documents; and
       12.     All evidence showing the identity of the person(s) who used each of the
Accounts.
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 54 of 65




        As used above, the terms “records” and “information” includes all forms of creation
or storage, including any form of computer or electronic storage (such as hard disks or other
media that can store data); any handmade form (such as writing); any mechanical form (such
as printing or typing); and any photographic form (such as microfilm, microfiche, prints,
slides, negatives, videotapes, motion pictures, or photocopies).
                          NOTHING MORE AFTER THIS LINE
                                     HKS 9/8/2020
                    Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 55 of 65
AO 93 (Rev. 11/13) Search and Seizure Warrant


                                         United States District Court
                                                                         for the
                                                               Western District of New York

                                         In the Matter of the Search of
                       (Briefly describe the property to be searched or identify the person by name and address.)


 The Premises Known as 19 Crabapple Lane, Lancaster, New York
                                                                                                                                Case No. 20-MJ- 125-1


                                                    SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
             An application by a federal law enforcement officer or an attorney for the government requests the search of
the following person or property located in the Western District of New York (identify the person or describe the property to be searched
and give its location):
 See Attachment A-1, which is attached hereto and incorporated by reference herein

       I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person
or property described above, and that such search will reveal (identify the person or describe the property to be seized):
 See Attachment B-1, which is attached hereto and incorporated by reference herein,
 All of which are evidence, fruits, and instrumentalities of violations of Title 18, United States Code, Sections 1014,
 1343, 1344, 1349, and 1957, and all of which are more particularly described in the application for this warrant
 which is incorporated herein by reference.

          YOU ARE COMMANDED to execute this warrant on or before                                                    September 22, 2020
                                                                                                                            (not to exceed 14 days)
      ☒   in the daytime 6:00 a.m. to 10:00 p.m.                        ☐      at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
       The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to Hon. H. Kenneth Schroeder, Jr.
                                                                                                                           (United States Magistrate Judge)
          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in
          ☐
18 U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the
person who, or whose property, will be searched or seized (check the appropriate box)
       ☐ for       days (not to exceed 30). ☐ until, the facts justifying, the later specific date of              .

                                                                                 4:51 p.m.
Date and time issued:             September 8, 2020
                                                                                                                        Judge’s signature

City and State: Buffalo, New York                                                                   HONORABLE H. KENNETH SCHROEDER, JR.
                                                                                                    UNITED STATES MAGISTRATE JUDGE
                                                                                                                     Printed name and Title
                    Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 56 of 65
AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                            Return
 Case No.: 20-mj-125-1              Date and time warrant executed:      Copy of warrant and inventory left with:


 Inventory made in the presence of:


 Inventory of the property taken and name of any person(s) seized:




                                                         Certification

        I declare under penalty of perjury that this inventory is correct and was returned along with the original
 warrant to the designated judge.



 Date:
                                                                                Executing officer’s signature



                                                                                  Printed name and title
                    Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 57 of 65
AO 93 (Rev. 11/13) Search and Seizure Warrant


                                         United States District Court
                                                                         for the
                                                               Western District of New York

                                         In the Matter of the Search of
                       (Briefly describe the property to be searched or identify the person by name and address.)


 The Premises Known as 310 Adams Street, Buffalo, New York
                                                                                                                                 Case No. 20-MJ- 125-2


                                                    SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
             An application by a federal law enforcement officer or an attorney for the government requests the search of
the following person or property located in the Western District of New York (identify the person or describe the property to be searched
and give its location):
 See Attachment A-2, which is attached hereto and incorporated by reference herein

       I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person
or property described above, and that such search will reveal (identify the person or describe the property to be seized):
 See Attachment B-1, which is attached hereto and incorporated by reference herein,
 All of which are evidence, fruits, and instrumentalities of violations of Title 18, United States Code, Sections 1014,
 1343, 1344, 1349, and 1957, and all of which are more particularly described in the application for this warrant
 which is incorporated herein by reference.

          YOU ARE COMMANDED to execute this warrant on or before                                                    September 22,2020
                                                                                                                             (not to exceed 14 days)
      ☒   in the daytime 6:00 a.m. to 10:00 p.m.                        ☐      at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
       The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to Hon. H. Kenneth Schroeder, Jr.
                                                                                                                            (United States Magistrate Judge)
          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in
          ☐
18 U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the
person who, or whose property, will be searched or seized (check the appropriate box)
       ☐ for       days (not to exceed 30). ☐ until, the facts justifying, the later specific date of              .


Date and time issued:           September 8, 2020 4:52 p.m
                                                                                                                         Judge’s signature

City and State: Buffalo, New York                                                                   HONORABLE H. KENNETH SCHROEDER, JR.
                                                                                                    UNITED STATES MAGISTRATE JUDGE
                                                                                                                      Printed name and Title
                    Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 58 of 65
AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                            Return
 Case No.: 20-mj-125-2              Date and time warrant executed:      Copy of warrant and inventory left with:


 Inventory made in the presence of:


 Inventory of the property taken and name of any person(s) seized:




                                                         Certification

        I declare under penalty of perjury that this inventory is correct and was returned along with the original
 warrant to the designated judge.



 Date:
                                                                                Executing officer’s signature



                                                                                  Printed name and title
                    Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 59 of 65
AO 93 (Rev. 11/13) Search and Seizure Warrant


                                         United States District Court
                                                                         for the
                                                               Western District of New York

                                         In the Matter of the Search of
                       (Briefly describe the property to be searched or identify the person by name and address.)


 The Person of Larry D. Jordan II
                                                                                                                                 Case No. 20-MJ- 125-3


                                                    SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
             An application by a federal law enforcement officer or an attorney for the government requests the search of
the following person or property located in the Western District of New York (identify the person or describe the property to be searched
and give its location):
 See Attachment A-3, which is attached hereto and incorporated by reference herein

       I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person
or property described above, and that such search will reveal (identify the person or describe the property to be seized):
 See Attachment B-1, which is attached hereto and incorporated by reference herein,
 All of which are evidence, fruits, and instrumentalities of violations of Title 18, United States Code, Sections 1014,
 1343, 1344, 1349, and 1957, and all of which are more particularly described in the application for this warrant
 which is incorporated herein by reference.

          YOU ARE COMMANDED to execute this warrant on or before                                                    September 22, 2020
                                                                                                                             (not to exceed 14 days)
      ☒   in the daytime 6:00 a.m. to 10:00 p.m.                        ☐      at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
       The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to Hon. H. Kenneth Schroeder, Jr.
                                                                                                                            (United States Magistrate Judge)
          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in
          ☐
18 U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the
person who, or whose property, will be searched or seized (check the appropriate box)
       ☐ for       days (not to exceed 30). ☐ until, the facts justifying, the later specific date of              .


Date and time issued: September 8, 2020 5:54 p.m..
                                                                                                                         Judge’s signature

City and State: Buffalo, New York                                                                   HONORABLE H. KENNETH SCHROEDER, JR.
                                                                                                    UNITED STATES MAGISTRATE JUDGE
                                                                                                                      Printed name and Title
                    Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 60 of 65
AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                            Return
 Case No.: 20-mj-125-3              Date and time warrant executed:      Copy of warrant and inventory left with:


 Inventory made in the presence of:


 Inventory of the property taken and name of any person(s) seized:




                                                         Certification

        I declare under penalty of perjury that this inventory is correct and was returned along with the original
 warrant to the designated judge.



 Date:
                                                                                Executing officer’s signature



                                                                                  Printed name and title
                    Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 61 of 65
AO 93 (Rev. 11/13) Search and Seizure Warrant


                                         United States District Court
                                                                         for the
                                                               Western District of New York

                                         In the Matter of the Search of
                       (Briefly describe the property to be searched or identify the person by name and address.)


 Information Associated with Accounts:
     Larry.jordan@5stems.com and
    Accounting @5stems.com,                                                                                                     Case No. 20-MJ- 125-5
    That are Stored at Premises Owned, Maintained, Controlled,
 or Operated by Zoho Corporation.

                                                    SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search of
          the following person or property located in the Northern District of California, (identify the person or describe the property to
          be searched and give its location):
 See Attachment A-5, which is attached hereto and incorporated by reference herein

       I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person
or property described above, and that such search will reveal (identify the person or describe the property to be seized):
 See Attachment B-2, which is attached hereto and incorporated by reference herein,
 All of which are evidence, fruits, and instrumentalities of violations of Title 18, United States Code, Sections 1014,
 1343, 1344, 1349, and 1957, and all of which are more particularly described in the application for this warrant
 which is incorporated herein by reference.

          YOU ARE COMMANDED to execute this warrant on or before                                                    September 22, 2020
                                                                                                                           (not to exceed 14 days)
      ☒   in the daytime 6:00 a.m. to 10:00 p.m.                        ☐      at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
       The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to Hon. H. Kenneth Schroeder, Jr.
                                                                                                                          (United States Magistrate Judge)
       ☐ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in
18 U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the
person who, or whose property, will be searched or seized (check the appropriate box)
       ☐ for       days (not to exceed 30). ☐ until, the facts justifying, the later specific date of              .



Date and time issued:            September 8, 2020 5:56 p.m.
                                                                                                                       Judge’s signature

City and State: Buffalo, New York                                                                   HONORABLE H. KENNETH SCHROEDER, JR.
                                                                                                    UNITED STATES MAGISTRATE JUDGE
                                                                                                                    Printed name and Title
                    Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 62 of 65
AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                            Return
 Case No.: 20-mj-125-5              Date and time warrant executed:      Copy of warrant and inventory left with:


 Inventory made in the presence of:


 Inventory of the property taken and name of any person(s) seized:




                                                         Certification

        I declare under penalty of perjury that this inventory is correct and was returned along with the original
 warrant to the designated judge.



 Date:
                                                                                Executing officer’s signature



                                                                                  Printed name and title
                    Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 63 of 65
AO 93 (Rev. 11/13) Search and Seizure Warrant


                                         United States District Court
                                                                         for the
                                                               Western District of New York

                                         In the Matter of the Search of
                       (Briefly describe the property to be searched or identify the person by name and address.)


 The Person of Sutukh El, a/k/a Curtis Jordan, a/k/a Hugo Hurt, a/k/a Hugo
 Hurtington
                                                                                                                                Case No. 20-MJ- 125-4


                                                    SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
             An application by a federal law enforcement officer or an attorney for the government requests the search of
the following person or property located in the Western District of New York (identify the person or describe the property to be searched
and give its location):
 See Attachment A-4, which is attached hereto and incorporated by reference herein

       I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person
or property described above, and that such search will reveal (identify the person or describe the property to be seized):
 See Attachment B-1, which is attached hereto and incorporated by reference herein,
 All of which are evidence, fruits, and instrumentalities of violations of Title 18, United States Code, Sections 1014,
 1343, 1344, 1349, and 1957, and all of which are more particularly described in the application for this warrant
 which is incorporated herein by reference.

          YOU ARE COMMANDED to execute this warrant on or before                                                    September 22, 2020
                                                                                                                            (not to exceed 14 days)
      ☒   in the daytime 6:00 a.m. to 10:00 p.m.                        ☐      at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
       The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to Hon. H. Kenneth Schroeder, Jr.
                                                                                                                           (United States Magistrate Judge)
          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in
          ☐
18 U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the
person who, or whose property, will be searched or seized (check the appropriate box)
       ☐ for       days (not to exceed 30). ☐ until, the facts justifying, the later specific date of              .


Date and time issued:              September 8, 2020 4:57 p.m.
                                                                                                                        Judge’s signature

City and State: Buffalo, New York                                                                   HONORABLE H. KENNETH SCHROEDER, JR.
                                                                                                    UNITED STATES MAGISTRATE JUDGE
                                                                                                                     Printed name and Title
                    Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 64 of 65
AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                            Return
 Case No.: 20-mj-125-4              Date and time warrant executed:      Copy of warrant and inventory left with:


 Inventory made in the presence of:


 Inventory of the property taken and name of any person(s) seized:




                                                         Certification

        I declare under penalty of perjury that this inventory is correct and was returned along with the original
 warrant to the designated judge.



 Date:
                                                                                Executing officer’s signature



                                                                                  Printed name and title
        Case 1:20-mj-00125-HKS Document 1 Filed 09/08/20 Page 65 of 65




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________________

In the Matter of the Search of:
The Premises Known as 19 Crabapple Lane, Lancaster, New York;
The Premises Known as 310 Adams Street, Buffalo, New York;
The Person of Curtis D. Jordan II;
The Person of Sutukh El, a/k/a Curtis Jordan, a/k/a Hugo Hurt,
a/k/a Hugo Hurtington; and
Information Associated with Accounts:                             20-MJ- 125
    Larry.jordan@5stems.com and                              FILDER UNDER SEAL
   Accounting @5stems.com,
   That are Stored at Premises Owned, Maintained, Controlled,
or Operated by Zoho Corporation.

_________________________________________________

                                        ORDER

       Pursuant to Rule 41(d) of the Local Rules of Criminal Procedure for the Western

District of New York, and for good cause shown, the Search Warrants, Search Warrant

Application, Search Warrant Affidavit, and inventory returns shall remain under seal until

further order of the Court.

       NOW, upon the request of the government, it is hereby

       ORDERED that this matter will remain sealed until further order of the Court.



       DATED:                                      8 2020
                   Buffalo, New York, September _____,




                                         HON. H. KENNETH SCHROEDER, JR.
                                         United States Magistrate Judge
